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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

IN THE MATTER OF APPLICATION FOR
ADMISSION TO PRACTICE IN THIS COURT :

PETITION

| Katie Townsend , hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, | state as follows:

 

 

My office address is: 1156 15th St. NW
Suite 1020

 

Washington, DC 20005

Office Telephone: (202) 795-9303

 

 

| was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and | am currently a member in good standing of all those Courts.
2d Cir., 9/16/16; 9th Cir., 2/2/11; 7th Cir, 7/25/14; D.C. Cir. 12/15/14; C.D. Calif., 12/19/07

 

N.D. Calif., 3/15/13; E.D. Wis., 5/2/14; D.D.C., 5/4/15; D.Md., 11/9/16; S.D. Ind., 1/23/17; S.D.N.Y, 8/29/17

 

California Supreme Court, 12/12/07; D.C. Court of Appeals, 4/6/15; New York Court of Appeals, 12/8/16

 

 

My attorney identification number is: 1026115, District of Columbia

 

 

 

 

 

 

 

    

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(GRANTED BY THE COURT

 

 

 

 

 

 

 

 
 

 

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Case 1:16-cv-02145-JEJ-MCC Document 265 Filed 06/20/19 Page 1 of 4

_ UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

IN THE MATTER OF APPLICATION FOR :
ADMISSION TO PRACTICE IN THIS COURT :

PETITION

| Jennifer Nelson , hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, | state as follows:

My office address is:  _1156 15th St. NW
Suite 1020

 

Washington, DC 20005

 

Office Telephone: _202-795-9312

| was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and | am currently a member in good standing of all those Courts.
New York - January 19, 2012

District of Columbia - December 10, 2012

 

United States District Court for the District of Columbia - Nov. 6, 2017

 

My attorney Identification number is: _1011387, District of Columbia

 

 

 

 

 

 

 

 

 

 

 

 

 
